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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)
     Gorski & Knowlton PC
     By: Allen I. Gorski, Esquire
     311 Whitehorse Ave, Suite A
     Hamilton, New Jersey 08610
     Phone: (609) 964-4000
     Fax: (609)528-0721
     agorski@gorskiknowlton.com


     In Re:                                                         Case No. 24-15472-JNP

     PV PETS, LLC                                                   Chapter 11

                                                                    Judge:       Jerrold N. Poslusny, Jr.

                                     CERTIFICATE OF SERVICE

1.        I, Allen I. Gorski,

           represent the Debtor in the above captioned matter.

           am the secretary/paralegal for ____________________, who represents the

          _______________ in the above captioned matter.

           am the ______________________ in the above case and am representing myself.

2.        On June 21, 2024, I sent a copy of the following pleadings and/or documents to the parties
          listed in the chart below:

          Letter to parties serve Interim Order Authorizing Use of Cash Collateral.

3.        I hereby certify under penalty of perjury that the above documents were sent using the
          mode of service indicated.
4.

                                                           /s/ Allen I. Gorski
Dated: 6/21/2024                                           __________________________________
                                                           ALLEN I. GORSKI
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Name and Address of Party Served Relationship of Party to the Mode of Service
                                        Case
Kevin P. Callahan, Esquire              U.S. Trustee              Hand-delivered
Office of the United States Trustee                               Regular mail
One Newark Center, Suite 2100                                      Certified mail/RR
Newark, NJ 07102                                                  E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
Nicole M. Nigrelli, Esquire             Subchapter V Trustee      Hand-delivered
Ciardi, Ciardi & Astin                                            Regular mail
1905 Spruce Street                                                 Certified mail/RR
Philadelphia, PA 19103                                            E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
Mynt Advance                            Creditor                  Hand-delivered
Attn: Pres., Officer, or Managing Agent                           Regular mail
633 167th Street                                                   Certified mail/RR
N. Miami Beach, FL 33162                                          E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
American Express                        Creditor                  Hand-delivered
PO Box 981535                                                     Regular mail
El Paso, TX 79998-1535                                             Certified mail/RR
                                                                  E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
Fintegra, LLC                           Creditor                  Hand-delivered
Attn: Pres., Officer, or Managing Agent                           Regular mail
99 Wall Street, Suite 686                                          Certified mail/RR
New York, NY 10005                                                E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
Fora Financial Advance, LLC             Creditor                  Hand-delivered
Attn: Pres., Officer, or Managing Agent                           Regular mail
1385 Broadway, 15th floor                                          Certified mail/RR
New York, NY 10018                                                E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
Highland Hill Capital LLC               Creditor                  Hand-delivered
Attn: Pres., Officer, or Managing Agent                           Regular mail
1100 Park Central Blvd. S., Suite 1200                             Certified mail/RR
Pompano Beach, FL 33064                                           E-mail
                                                                   Notice of Electronic Filing (NEF)
                                                                   Other -
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Name and Address of Party Served          Relationship of Party to the Mode of Service
                                          Case
South Jersey Shops 2019, LLC              Creditor                     Hand-delivered
Attn: Joel Rosenberg                                                   Regular mail
670 Myrtle Ave., #166                                                   Certified mail/RR
Brooklyn, NY 11205                                                     E-mail
                                                                        Notice of Electronic Filing (NEF)
                                                                        Other -
TAB Bank                                  Creditor                     Hand-delivered
Attn: Pres., Officer, or Managing Agent                                Regular mail
4185 Harrison Blvd                                                      Certified mail/RR
Suite 200                                                              E-mail
Ogden, UT 84403                                                         Notice of Electronic Filing (NEF)
                                                                        Other -
U.S. Small Business Administration        Creditor                     Hand-delivered
409 Third St SW                                                        Regular mail
Washington, DC 20024-3212                                               Certified mail/RR
                                                                       E-mail
                                                                        Notice of Electronic Filing (NEF)
                                                                        Other -
United States Attorney                    Attorneys for IRS            Hand-delivered
Peter Rodino Federal Building                                          Regular mail
970 Broad Street, Suite 700                                             Certified mail/RR
Newark, NJ 07102                                                       E-mail
                                                                        Notice of Electronic Filing (NEF)
                                                                        Other -
United States Attorney General            Attorneys for IRS            Hand-delivered
US Department of Justice                                               Regular mail
950 Pennsylvania Avenue, NW                                             Certified mail/RR
Washington, DC 20530                                                   E-mail
                                                                        Notice of Electronic Filing (NEF)
                                                                        Other -
NJ Attorney General Office                Attorney for State of NJ     Hand-delivered
Division of Law                                                        Regular mail
Richard J. Hughes Justice Complex                                       Certified mail/RR
25 Market Street                                                       E-mail
Trenton, NJ 08611                                                       Notice of Electronic Filing (NEF)
                                                                        Other -
